        Case 2:17-cv-00113-ABJ Document 66 Filed 02/05/19 Page 1 of 29

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                   IN THE UNITED STATES DISTRICT COURT
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                          FOR THE DISTRICT OF WYOMIMi                               ^ .
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 UNITED STATES OF AMERICA,

                  Plaintiff,

                     V.                                 Case N0.17-CV-113-ABJ


 ROBERT F. LAIN,AMELIA LAIN,and
 SEPTEMBER LIBERTY TRUST,

                Defendants.



ORDER DENYING ROBERT LAIN'S MOTION FOR SUMMARY JUDGMENT,
GRANTING THE UNITED STATES' MOTION FOR SUMMARY JUDGMENT,
 AND GRANTING IN PART AND DENYING IN PART THE UNITED STATES'
                       MOTION FOR DEFAULT JUDGMENT



       THIS MATTER comes before the Court on Robert Lain's ("Mr. Lain") Mo. for

Summ. J. and Mem. in Supp. {^'Lain's Mo.for Summ. 7."), ECF No. 41, the United States of

America's (the "United States") Mo.for Summ. J. (^''United States' Mo.for Summ. J.), ECF

No. 51, and the United States' Mo.for Default J. Against Amelia Lain and September Liberty

Trust (''United States' Mo.for Default J."), ECF No. 52. The United States filed a response

to Lain's Mo.for Summ. J., and Mr. Lain replied. ECF Nos. 53, 60. Mr. Lain filed a response

to the United States' Mo.for Summ. J. (ECF No. 61), and the United States did not reply.

Amelia Lain ("Mrs. Lain") and September Liberty Trust did not file a response to the United
         Case 2:17-cv-00113-ABJ Document 66 Filed 02/05/19 Page 2 of 29




States' Mo.for Default J. Having considered all the filings, the applicable law, and being

otherwise fully advised, the Court FINDS and ORDERS as follows:

                                      I.     Background


       A) Mr. Lain's Tax Liability

       This case involves Mr. Lain's unpaid income taxes. On April 4, 2012, the United

States Tax Court found that Mr. Lain had avoided his obligation to pay income taxes "for the

taxable years 1995, 1996, 1998, 1999, 2000, 2001,2002, 2003, 2004, and 2005...."("years

at issue"). United States' Mo.for Summ. J. Ex. 6, ECF No. 51. His tax obligations arose as a

result of payment he received for services rendered under the names La Phoenix Research

and White Stone. Id. Mr. Lain had the checks made out to La Phoenix Research and White


Stone rather than to himself. See id. While Mr. Lain contended that La Phoenix Research and


White Stone were separate trusts, he did not provide any trust documents to the Tax Court to

support that contention. Id.

       La Phoenix Research and White Stone retained no records regarding Mr. Lain's

income. Id. Accordingly, the Internal Revenue Service ("IRS") was forced to "reconstruct

[Mr. Lain's] income for the years at issue" through the "specific item" technique. Id. The

IRS sent summons to banks and third parties and discovered eleven instances of payments

for Mr. Lain's services. Id. Some of the payments were large. Id. For example, EOG

Resources, Inc., paid Mr. Lain $271,475 in 2005. Id. At that time, though, Mr. Lain decided

he was not subject to the United States' tax system:
         Case 2:17-cv-00113-ABJ Document 66 Filed 02/05/19 Page 3 of 29




              Q. And you understand that at issue in this case are tax liabilities for the
       years 1995 to 1996, and 1998 to 2005?
                       A. Yes.


               Q. And did you have income for those years?
                     A. That's an ambiguous statement. You would have to define
               income.


               Q. Did you receive money in exchange for your consulting services?
                      A. No.


               Q. Okay. Why do you say that?
                     A. Well, excuse me I'm going to restate that. Yes,I did.

               Q. Okay. Did you file tax returns that reported that?
                      A. No.


               Q. Why not?
                    A.I didn't believe that I was under the jurisdiction.

               Q. Could you explain that?
                     A. No,not right now.

              Q. When you say not under the jurisdiction, I don't know what you are
       referring to.
                     A. The legislative jurisdiction of Congress.

Lain Dep. 10:11-11:9., ECF No. 51 (emphasis added). Mr. Lain currently admits he earned

income but that he "stopped paying income tax ... and stopped filing tax returns, professing

to hold the belief that he was not 'under the legislative jurisdiction of Congress.'" Resp. to

United States'Mo.for Summ. J.        1, 2,ECF No.61.

       Following the Tax Court's decision, the IRS assessed tax liabilities and additions to

tax. United States' Mo.for Summ. J. 3, ECF No. 51. The United States avers that Mr. Lain

owes "$1,775,060.06 for his federal income tax liabilities for the tax years at issue." Id. at 12.
         Case 2:17-cv-00113-ABJ Document 66 Filed 02/05/19 Page 4 of 29




       The United States filed the current complaint to obtain a recovery from Mr. Lain

concerning his tax obligations. The United States served a summons and a copy of the

complaint on Mr. Lain on July 8, 2017. ECFs No. 1, 5. In that complaint, the United States

asks that the Court "adjudge that Lain is indebted to the United States," find that the United

States has valid liens against "all property and rights to property of Lain," establish that a

trust Mr. Lain created ("September Liberty Trust") holds title to certain real property (the

"Subject Property")' as his nominee, and permit the United States to sell the Subject Property

to apply the proceeds to Mr. Lain's outstanding tax liabilities. Compl 10, EOF No. 1.

       B) The Subject Property

       The Subject Property is a parcel ofreal property commonly known as 3 Chapel Road,

Big Piney, Wyoming 83113. Compl. ^ 9, ECF No. 1. Ownership of the Subject Property is

subject to dispute. Under a Contract Agreement, recorded December 22, 2009, Amelia Lain

("Mrs. Lain"), Mr. Lain's wife, was classified as "The Buyer" of the Subject Property. Mo.

for Summ. J. Ex. 8, ECF No. 51. Ron and Faye White (the "Whites"), the sellers of the

Subject Property, agreed to "sign over [the deed] and title to Amelia Lain or to what ever

name they ask that the title be placed." Id. By means of a March 4, 2011, Warranty Deed,the

Whites transferred the Subject Property to September Liberty Trust as grantee. Mo. for




 The Subject Property is a parcel ofreal property legally described as:

   • Parcel # 09-00-02935

   • 3 Chapel 23-137
       T30N,R111W,SEC 13, NENE
        Case 2:17-cv-00113-ABJ Document 66 Filed 02/05/19 Page 5 of 29




Summ. J. Ex. 9, ECF No. 51. Mrs. Lain signed the Warranty Deed "on behalf of and/or in her

capacity as Liaison for the September Liberty Trust." Id.

       C) September Liberty Trust

       The Lains and an individual named Raymond Copp purported to establish September

Liberty Trust on August 19, 1995, by way of an "Affidavit of Contract and Declaration of

Trust." Id. Ex. 10. Mr. Lain was the "initial trustee" and Mrs. Lain was the "later appointed

. . . co-trustee." Id. September Liberty Trust held bank accounts into which Mr. Lain

deposited checks made out to White Stone or La Phoenix. Id. Exs. 11 and 12; Lain Dep.

39:21-42:1. Two such bank accounts were with CITCO Federal Credit Union and Wells


Fargo, and the Lains were authorized signers on each bank account. See id. Exs. 11 and 12.

The Taxpayer Identification Number for September Liberty Trust related to the Wells Fargo

account was Mr. Lain's social security number. See id. Ex. 13.

       The evidence shows that the Lains and September Liberty Trust were wholly

amalgamated. September Liberty Trust made the down payment for the Subject Property,

and the only money that came into September Liberty Trust came from Mr. Lain. Id. Exs. 12

and 13; Lain Dep. 47:2-16, 52:22-53:21. The Lains paid the property taxes by signing checks

"on accounts that they owned in September Liberty Trust's name." United States' Mo.for

Summ. J. 6, Ex. 14, ECF No. 51; Lain Dep. 48:1-6. The Lains currently live on the Subject

Property, which the Whites granted to September Liberty Trust, and Mr. Lain pays the

utilities for the Subject Property and has built structures on the Subject Property. Lain Dep.

48:18-49:1, 56:9-11, and 58:8-16. They have also used September Liberty Trust's bank
         Case 2:17-cv-00113-ABJ Document 66 Filed 02/05/19 Page 6 of 29




accounts to purchase "propane, satellite TV,plumbing, repairs, etc." for the Subject Property.

United States' Mo.for Summ. J. Exs. 15, BCF No. 51. Glaringly, the Lains made personal

checks out to themselves for cash from September Liberty Trust's accounts. Id.

       The Court must now determine whether the United States has liens upon the Subject

Property for Mr. Lain's tax liabilities that the United States can foreclose.

                                   II.    Standard of Review


       Summary judgment is appropriate where "there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law." Fed. R. Civ. P.

56(a). A dispute of fact is genuine if a reasonable juror could resolve the disputed fact in

favor of either side. See Anderson v. Liberty Lobby, Inc., All U.S. 242, 248 (1986). A

dispute of fact is material if under the substantive law it is essential to the proper disposition

of the claim. Adler v. Wal-Mart Stores, Inc., 144 F.3d 664, 670 (10th Cir. 1998). When the

Court considers the evidence presented by the parties, "[t]he evidence of the non-movant is

to be believed, and all justifiable inferences are to be drawn in the non-movant's favor."

Anderson,477 U.S. at 255.

       The party moving for summary judgment has the burden of establishing the

nonexistence of a genuine dispute of material fact. Lynch v. Barrett, 703 F.3d 1153, 1158

(10th Cir. 2013). The moving party can satisfy this burden by either (1) offering affirmative

evidence that negates an essential element of the nonmoving party's claim, or (2)

demonstrating that the nonmoving party's evidence is insufficient to establish an essential

element ofthe nonmoving party's claim. See Fed.R.CiV.P. 56(c)(l)(A)-(B).
         Case 2:17-cv-00113-ABJ Document 66 Filed 02/05/19 Page 7 of 29




       Once the moving party satisfies this initial burden, the nonmoving party must support

its contention that a genuine dispute of material fact exists either by (1) citing to particular

materials in the record, or (2) showing that the materials cited by the moving party do not

establish the absence of a genuine dispute. See id The nonmoving party must "do more than

simply show that there is some metaphysical doubt as to material facts." Matsushita Elec.

Indus. V. Zenith Radio Corp., 475 U.S. 574, 586 (1986). Rather, to survive a summary

judgment motion, the nonmoving party must "make a showing sufficient to establish the

existence of[every] element essential to that party's case, and on which that party will bear

the burden of proof at trial." Celotex Corp. v. Catrett, All U.S. 317, 322 (1986). Further,

when opposing summary judgment, the nonmoving party cannot rest on allegations or

denials in the pleadings but must set forth specific facts showing that there is a genuine

dispute of material fact for trial. See Travis v. Park City Mun. Corp., 565 F.3d 1252, 1258

(10th Cir. 2009).

       When considering a motion for summary judgment, the court's role is not to weigh

the evidence and decide the truth of the matter, but rather to determine whether a genuine

dispute of material fact exists for trial. Anderson, All U.S. at 249. Credibility determinations

are the province ofthe fact-finder, not the court. Id. at 255.
         Case 2:17-cv-00113-ABJ Document 66 Filed 02/05/19 Page 8 of 29




                                        III.   Discussion


   A) Mr. Lain's Motion for Summary Judgment

       Mr. Lain identifies three issues and presents three arguments for why the Court must

grant summary judgment in his favor: 1) the Court does not have subject matter jurisdiction;

2) Mr. Lain is a nontaxpayer; and 3) the IRS constructed a fraudulent casefile, thereby

rendering the Tax Court's decision erroneous. The Court will address each argument in turn.

       1. Subject Matter Jurisdiction


       Mr. Lain contends that this Court does not have subject matter jurisdiction because

the basis for such jurisdiction was not "recorded in the record." Lain's Mo.for Summ. J. 22-

23, ECF No. 41. An irreparable defect arose, Mr. Lain argues, because the Complaint refers

to 'federal income tax'' rather than "Federal income tax." Id. at 23. Mr. Lain claims that the

term "federal income to ... is vague and unclear, where no Federal Statute is cited in the

original Complaint...." Id.

       But it is evident that Mr. Lain's assertion is factually incorrect. The United States did

cite such a federal statute in the complaint. In fact, it cited multiple federal statutes: "The

Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, 1340 and 1345, and 26

U.S.C. §§ 7402 and 7403." Compl. f 3, ECF No. 1. Mr. Lain's argument is also legally

incorrect. Discrepancies between capitalizing the "f in "federal" reflects meaningless,

stylistic differences in prose—sometimes the Tenth Circuit refers to the tax as a "Federal

income tax" and as a "federal income tax." Compare Lam v. Comm'r, No. 87-2720, 1991

WL 88533, *2 (10th Cir. May 23, 1991) (10th Cir. 1991) (Table) ("In his objection to


                                               8
          Case 2:17-cv-00113-ABJ Document 66 Filed 02/05/19 Page 9 of 29




respondent's motion to dismiss, petitioner admitted he did not file a Federal income tax

return for 1984 ....")(emphasis added), with United States v. Rickman,638 F.2d 182, 183

(10th Cir. 1980)("In the final analysis defendant's claim of selective prosecution rests on his

argument that he was charged because of his outspoken criticism of the federal income tax

laws.") (emphasis added). Evidently Mr. Lain concedes this argument is frivolous:

"Notwithstanding, this court has jurisdiction either way." Lain's Mo.for Summ. J 23, ECF

No. 41.


       Turning to the relevant statutory language, 28 U.S.C. § 1340 grants federal "district

courts . . . original jurisdiction of any civil action arising under any Act of Congress

providing for internal revenue . . . ." Dovetailing § 1340, 28 U.S.C. § 1345 provides, "the

district courts shall have original jurisdiction of all civil actions, suits or proceedings

commenced by the United States . . . ." Next, 26 U.S.C. § 7402(a) provides jurisdiction to

district courts "to render such judgments and decrees as may be necessary or appropriate for

the enforcement ofthe internal revenue laws." Finally, 26 U.S.C. § 7403(a)reads:

       In any case where there has been a refusal or neglect to pay any tax, or to
       discharge any liability in respect thereof, whether or not levy has been made,
       the Attorney General or his delegate, at the request of the Secretary, may
       direct a civil action to be filed in a district court of the United States to
       enforce the lien of the United States under this title with respect to such tax
       or liability or to subject any property, of whatever nature, of the delinquent,
       or in which he has any right, title, or interest, to the payment of such tax or
       liability.

       In this case, the United States' claim arises under 26 U.S.C. § 7403(c) because it

seeks to enforce a claimed tax lien. The United States is also the plaintiff in this matter.

Therefore, the Court has subject matter jurisdiction under 28 U.S.C. §§ 1340 and 1345. This

                                              9
        Case 2:17-cv-00113-ABJ Document 66 Filed 02/05/19 Page 10 of 29




Court also has subject matter jurisdiction under 26 U.S.C. §§ 7402 and 7403, as the United

States' action arises from Mr. Lain's failure to follow internal revenue laws.^

       2. Nontaxpaver Status

       Mr. Lain argues that there are "Taxpayers and Non-Taxpayers" and that "the

Individual Income Tax is applicable only to those domiciled in the District of Columbia

... ." Lain's Mo.for Summ. J. 23-24, ECF No. 41. Since Mr. Lain is not domiciled in the

District of Columbia, he contends that his "income is non taxable by the Federal

Government" and that he is "a Non-taxpayer not subject to the jurisdiction of the United

States." Id. at 24. This argument is "patently frivolous" and contrary to established Tenth

Circuit precedent:

      As the cited cases, as well as many others, have made abundantly clear, the following
      arguments . . . are completely lacking in legal merit and patently frivolous: (1)
      individuals ... are not "persons" subject to taxation under the Internal Revenue code;
      (2) the authority of the United States is confined to the District of Columbia;(3)
      the income tax is a direct tax which is invalid absent apportionment, and Pollock v.
      Farmers'Loan & Trust Co., 157 U.S. 429, 15 S.Ct. 673, 39 L.Ed. 759, modified, 158
      U.S. 601, 15 S.Ct. 912, 39 L.Ed. 1108 (1895), is authority for that and other
      arguments against the government's power to impose income taxes on individuals;(4)
      the Sixteenth Amendment to the Constitution is either invalid or applies only to
      corporations; (5) wages are not income; (6) the income tax is voluntary; (7) no
      statutory authority exists for imposing an income tax on individuals; (8) the term
      "income" as used in the tax statutes is unconstitutionally vague and indefinite; (9)
      individuals are not required to file tax returns fully reporting their income; and
      (10)the Anti-Injunction Act is invalid.




^ The Court additionally has subject matter jurisdiction under 28 U.S.C. § 1331, as the
United States claims arise under laws ofthe United States.

                                              10
        Case 2:17-cv-00113-ABJ Document 66 Filed 02/05/19 Page 11 of 29




Lonsdale v. United States, 919 F.2d 1440, 1448 (10th Cir. 1990)(emphasis added). Mr. Lain

is a nontaxpayer only in the sense that he has not paid his income taxes and has illegally

failed to support this nation by doing so.

       3. Fraudulent Case File


       Finally, Mr. Lain contends that

       The smoking gun of this whole fraud is the POD-CD-692 which is found on
       the AMDISA File (See Exhibit DS-18) and the AMDIS File (See Exhibit DS-
       19), which pursuant to the IRM 5.1.11.1.5.6 (05-27- 1999) IRS EMPLOYEE
       RETURN DELINQUENCY (See Exhibit DS- 12A), and IRM 11-12 POD-
       "Post of Duty Code found on Selection 92 cases only" (See Exhibit DS-20),
       which indicates the case file alleged to be that of Mr. Lain is a Selection Code
       "92", which is an IRS Delinquent Return case, and the SFR TC-150 indicates
       a"FULL PAID" Form 1040A (See Exhibit DS-12A).CV00026DS82.

Lain's Mo. for Summ. J. 26, ECF No. 41. Stated with slightly more clarity, Mr. Lain's

Response to United States' Mo.for Summ. J. H 7, ECF No. 61, claims that "the Form 1040

...[was] the Form from which the assessment made," but originally the "case file against

Mr. Lain was opened in the Non-Masterfile ... with the Form 1040A, which is a 'Full Paid'

Form ...." The Court does not find this argument availing to demonstrate an IRS conspiracy

to unlawfully tax Mr. Lain.^

       First, when "any person fails to make any return required by" the tax code, "the

Secretary shall make such return from his own knowledge and from such information as he

can obtain through testimony or otherwise." 26 U.S.C. § 6020(b)(1). Such returns are "prima



^ Mr. Lain also makes unsubstantiated arguments that an IRS attorney, Thomas Hodel,
withheld exculpatory evidence in the case before the Tax Court. Because Mr. Lain simply
makes conclusory allegations with no supporting evidence, he has failed to create an
argument that can survive summary judgment. Celotex Corp., All U.S. at 322.
                                             11
        Case 2:17-cv-00113-ABJ Document 66 Filed 02/05/19 Page 12 of 29




facie good and sufficient for all legal purposes." Id., § 6020(b)(2). Since returns prepared by

the IRS under these sections are sufficient for all legal purposes, it follows that the IRS can

make assessments based on those returns. See 26 C.F.R. § 301.6201-1(a)(1). The "optional"

Form 1040A—^which Mr. Lain asserts the IRS should have created for him and based the

assessment on—is only available to certain individuals. 26 C.F.R. §§ 1.6012-1(a)(6) and

1.6012-l(a)(7)(i). The option to file a Form 1040A would not have been available to Mr.

Lain for certain years because of his substantial income. 33 Am. Jur. 2d Federal Taxation

K 1910 (explaining that an individual must use a Form 1040 if the individual's income is

more than $100,000). More decisive, though, is that Mr. Lain did not exercise his option to

file Form 1040A returns—^he did not file any returns at all for the years at issue. If Mr. Lain

wanted the assessment, which is entitled to the presumption of truth, to be based on a Form

1040A, then he should have exercised his option to file such a tax return. Instead, Mr. Lain

sacrificed that option before the tax protester's altar.

        Second, Mr. Lain admitted that he received payment for his services and did not file

tax returns. That fact alone suggests that he was delinquent and an assessment was proper.

Further, the Form 4340 and Certificate of Assessment is entitled to a presumption of

correctness. Long v. United States, 972 F.2d 1174, 1181 (10th Cir. 1992); United States v.

Kalevik, 398 F. Supp. 2d 1152, 1159 (D. Colo. 2005). Mr. Lain presents no argument to

suggest that the IRS miscalculated his tax liability. Simply stating that the IRS originally

opened his file with an optional form upon which an assessment was never made falls far

short of overcoming the presumption that the final assessment was correct.


                                                12
        Case 2:17-cv-00113-ABJ Document 66 Filed 02/05/19 Page 13 of 29




   B) The United States' Motion for Summary Judgment

       1. Reducing the Tax Assessment to a Judgment

       Initially, the Court must decide whether the United States is correct that it "is entitled

to reduce the tax assessments made against Mr. Lain for the years at issue to judgment."

United States' Mo.for Summ. J. 10, ECF No. 51. The United States presents two arguments:

1)the tax assessment in this matter is entitled to the presumption of truth and 2)the doctrine

of resjudicata bars Mr. Lain from contesting the tax liability the Tax Court determined Mr.

Lain owed the United States.


       As mentioned earlier,"a Certificate of Assessment and Payment is sufficient evidence

that an assessment was made in the manner prescribed by § 6203 and Treas.Reg. 301.6203-

1." Long, 972 F.2d at 1181 (citations omitted). A Certificate of Assessment and Payment,

made through a Form 4340, "identifies the various assessments against defendant as well as

any credits thereon for the relevant tax years." United States v. Nuttall, 713 F. Supp. 132, 135

(D. Del.), ajfd, 893 F.2d 1332 (3d Cir. 1989). Assessments detailed in the Form 4340 are

presumed accurate. Long,972 F.2d at 1181 (citing Nuttall, 713 F. Supp. at 135); Kalevik, 398

F. Supp. 2d at 1159.

       Here, the Court already determined that Mr. Lain failed to show that the assessment

was inaccurate. Mr. Lain has also not contested that he earned income and that he did not file


tax returns. Accordingly, the Court concludes that the United States' first argument is

sufficient to reduce its tax assessment to ajudgment without considering resjudicata.




                                              13
         Case 2:17-cv-00113-ABJ Document 66 Filed 02/05/19 Page 14 of 29




        2. Does the United States Possess a Federal Tax Lien On the Subject Property?


        Having decided that the United States' assessment against Mr. Lain is valid and

should be reduced to a judgment, the Court must determine whether it can enforce the

judgment by permitting foreclosure and sale of the Subject Property. To do so, the Court

must first decide whether the judgment has become a lien on Mr. Lain's property. If so, the

Court must determine whether Mr. Lain has property rights in the Subject Property.

             1.   Tax Judgment Becoming a Lien

26 U.S.C. § 6321 states.

        If any person liable to pay any tax neglects or refuses to pay the same after
        demand, the amount(including any interest, additional amount, addition to tax,
        or assessable penalty, together with any costs that may accrue in addition
        thereto) shall be a lien in favor of the United States upon all property and
        rights to property, whether real or personal, belonging to such person.

A § 6321 lien arises at the time when the IRS makes an assessment. Id., § 6322. The lien

attaches to after-acquired property. Glass City Bank ofJeanette, Pa., v. United States, 326

U.S. 265, 267-68 (1945); United States v. Cache Valley Bank, 866 F.2d 1242, 1244 (10th

Cir. 1989). Further, the lien remains enforceable until the underlying liability is paid or a

lapse of time renders it unenforceable. 26 U.S.C. § 6322; Cache Valley Bank, 866 F.2d at

1244.


        Here, the Court determined that Mr. Lain is liable to pay the United States the amount

demanded in the Certificate of Assessment and Payment. Therefore, the United States has

obtained a lien against "all [his] property or rights to property" until he has paid the United




                                              14
        Case 2:17-cv-00113-ABJ Document 66 Filed 02/05/19 Page 15 of 29




States that amount. 26 U.S.C. §§ 6321 and 6322. The Court now must determine whether

Mr. Lain has a property interest in the Subject Property,

            n.    Who Owns the Subject Property?

       In this case, the United States asks this Court to permit it to foreclose and sell the

Subject Property without any discussion of the Subject Property's ownership. The IRS

cannot obtain and foreclose a tax lien upon property in which a delinquent taxpayer holds no

interest. Holman v. United States, 505 F.3d 1060, 1067(10th Cir. 2007). That is why "before

determining what, if any, federal tax consequences attach, we must first address the pertinent

questions of state property law." Id. (quoting Spotts v. United States, 429 F.3d 248, 251 (6th

Cir. 2005)); see also Drye v. United States, 528 U.S. 49, 58 (1999)("We look initially to

state law to determine what rights the taxpayer has in the property the Government seeks to

reach ... ."). Failure to first determine whether a delinquent taxpayer has an interest in the

property at issue before enforcing a federal tax lien is grounds for remand. Holman, 505 F.3d

at 1067.


              1) Wyoming Law

                  a) Concurrent Ownership

       While the Contract Agreement originally classified Mrs. Lain as "The Buyer" of the

Subject Property, it also stated that the Whites would "sign over [the deed] and title to

Amelia Lain or what ever name they ask that the title be placed." The March 4, 2011,

Warranty Deed indicated that September Liberty Trust was the grantee of the Subject




                                              15
        Case 2:17-cv-00113-ABJ Document 66 Filed 02/05/19 Page 16 of 29




Property. Despite this fact, Wyoming law provides a direct route to establishing Mr. Lain's

ownership interest in the Subject Property.

       Under Wyoming law, "[i]n all instruments conveying real estate, or interests therein,

in which the grantee is described as a trust, the instrument of conveyance shall ... be

deemed to have vested title in the trustee or trustees ofthe trust." Wyo.Stat.Ann. § 34-

2-122 (emphasis added). Therefore, when the Whites executed the Warranty Deed naming

September Liberty Trust as the grantee of the Subject Property, they vested title to the

Subject Property in both Mr. and Mrs. Lain because the Affidavit of Contract and

Declaration of Trust names them as co-trustees."^ What is left unanswered by the statute,

though, is whether the Lains concurrently hold their estate as joint tenants, tenants by the

entireties, or tenants in common.

       Classification of the concurrent ownership in this matter is meaningful. Mrs. Lain did

not file a joint return with Mr. Lain; therefore, she is notjointly liable for his tax obligations.

See, e.g., 26 U.S.C. § 6013(d)(3); Salzer v. Comm'r, 108 T.C.M. (CCH) 284, 2014 WL

4547041, at *3 (T.C. 2014) ("Petitioner did not file an income tax return for 2010.

Necessarily, therefore, he did not file a joint return."); 26 C.F.R. § 1.6013-1(a)(2). And,



   Wyo. Stat. Ann. § 34-2-122 requires that an "instrument conveying real estate"
sufficiently define a trust that is the grantee under the instrument. The trust is sufficiently
defined if the conveying instrument includes "the date of the trust . . . ." Id. Here, the
Warranty Deed includes the name of the trust, and the attached letter provides the relevant
date. United States' Mo.for Summ. J. Ex. 9, ECF No. 51. It appears that the Warranty Deed
therefore sufficiently defines the September Liberty Trust. Even if the Warranty Deed failed
to include the pertinent description, the Warranty Deed would not be considered invalid. See
In re Gifford, 2013 WY 54,1[ 16, 300 P.3d 852, 857(Wyo. 2013). Since the Warranty Deed
would still be valid, it follows that title would also still vest in Mr. and Mrs. Lain.
                                                16
        Case 2:17-cv-00113-ABJ Document 66 Filed 02/05/19 Page 17 of 29




because "[p]ropeity held in tenancy by the entirety is generally not subject to legal process to

satisfy a debt of only one spouse," if Mr. and Mrs. Lain hold the Subject Property as tenants

by the entireties the IRS cannot attach a tax lien to the Subject Property. E.g., Baker v.

Speaks, 2014 WY 117, t 17, 334 P.3d 1215, 1221 (Wyo. 2014)(quoting Estate ofMarusich

V. State ex. rel Dep't of Health, 2013 WY 150, 1 18, 313 P.3d 1272, 1279 (Wyo. 2013));

Talbot V. United States, 850 F. Supp. 969, 975 (D. Wyo. 1994)("this Court holds that under

Wyoming law defining the tenancy by the entireties, neither spouse possesses an independent

interest in the property. As a result, neither spouse has an interest to which a federal tax lien

could attach.").

       The Wyoming Supreme Court held, "[a] conveyance or devise to two persons, who

are husband and wife at the time property vests ... them [with] an estate by entireties. By

reason of their legal unity by marriage, they together take the whole estate as one person."

Peters v. Dona, 54 P.2d 817, 819(Wyo. 1936)(citation omitted); see also Ward Terry & Co.

V. Hensen, 297 P.2d 213, 215 (1956). When a deed grants a husband and wife title to

property but is silent as to the classification of the concurrent estate they hold, the Wyoming

Supreme Court formerly presumed that the deed created a tenancy by the entireties.^ Witzel v.

Witzel, 386 P.2d 103, 105 (Wyo. 1963)("We accept the presumption that a conveyance to

husband and wife, without saying anything more, intends the creation of a tenancy by the

entireties .. . ."); see also Case v. Sink & Rise, Inc., 2013 WY 19, H 17, 297 P.3d 762, 766




 The Court will refer to this as the ''Witzel presumption."

                                               17
         Case 2:17-cv-00113-ABJ Document 66 Filed 02/05/19 Page 18 of 29




(Wyo. 2013)(invoking the Witzel presumption to find that stock was held in a tenancy by the

entireties).^

        The Wyoming Legislature and Wyoming Supreme Court have altered the Witzel

presumption. First, it could be argued that the Witzel presumption does not square with

Choman v. Epperley, 592 P.2d 714(Wyo. 1979). There, the Wyoming Supreme Court held

that "without the express provision for a joint tenancy, a tenancy in common is presumed."

Id. at 718. However, that statement does not address whether a tenancy in common is still

presumed when the conveyance is to a husband and wife without saying anything more. The

stronger argument that the Witzel presumption is no longer controlling is the plain language

of Wyo.Stat. Ann.§ 34-1-140(emphasis added):

       A joint tenancy or a tenancy by the entirety as to any interest in real or
       personal property may be established by the owner thereof, by designating in
       the instrument of conveyance or transfer, the names of such joint tenants
       or tenants by the entirety, including his own, without the necessity of any
       transfer or conveyance to or through a third person.

The Wyoming Supreme Court interpreted this language to mean there is "a legislative

intention" that conveyances only create "'joint tenancies' [or] 'tenancies by the entireties'

... by the use of one or the other of those phrases." In re Estate ofThomas, 2009 WY 10,^

11, 199 P.3d 1090, 1095 (Wyo. 2009). It now appears that "joint tenancies and/or tenancies

by the entirety are disfavored in Wyoming." Lurie v. Blackwell, 2002 WY 110, 51 P.3d 846,




^ Under the facts of Witzel, because the deed there "said something more" (i.e., that the
husband and wife in Witzel were joint tenants), the Wyoming Supreme Court held that the
"questioned deed conveyed an estate in joint tenancy." Witzel, 386 P.2d at 104, 107.
                                             18
        Case 2:17-cv-00113-ABJ Document 66 Filed 02/05/19 Page 19 of 29




851 n.3 (Wyo. 2002) (citing Oatts v. Jorgenson, 821 P.2d 108, 114 (Wyo. 1991))^.

Therefore, the current state of Wyoming law presumes a conveyance to two individuals that

is silent as to the classification of the concurrent estate they hold produces a tenancy in

common, and this result is so even ifthose two individuals are husband and wife.

       Nevertheless, Case, which was decided after Thomas and Lurie, could be argued to

support the survival of the Witzel presumption. In Case, the Wyoming Supreme Court

reviewed whether jointly held stock by a husband and wife "could be counted for purposes of

a quorum of shareholders in the absence of either personal attendance or a proxy from both

owners[.]" t 3, 297 P.3d at 763. The stock was held as "Husband and Wife with Rights of

Survivorship." Id., ^ 4, 297 P.3d at 763. Citing the presumption set forth in Witzel, the

Wyoming Supreme Court determined that the "Husband and Wife" owned the stock in a

tenancy by the entireties rather than a tenancy in common. Id., H 17, 297 P.3d at 766. The

Wyoming Supreme Court came to this conclusion without discussing that the stock did not

contain the phrase "tenancy by the entireties," as Thomas indicated was crucial per the

legislature's intent,f 11, 199 P.3d at 1095.

       The outcome in Case, though, can be read in harmony with Wyo.Stat. Ann. § 34-1-

140, Thomas, and Lurie. The relevant stock in Case was issued to the husband and wife with



^ Lurie went on to discuss "that absent an express, 'clear manifestation' of the intention to
create a joint tenancy interest on the 'face of the instrument,' a tenancy in common will be
presumed." 51 P.3d at 851 n.3 (quoting Oatts, 821 P.2d at 114). As a result of Lurie's
willingness to group joint tenancies and tenancies by the entireties together (e.g., "joint
tenancies and/or tenancies by the entirety are disfavored in Wyoming"), the Court likewise
gathers that the same presumption applies concerning tenancies by the entireties and
tenancies in common.

                                               19
        Case 2:17-cv-00113-ABJ Document 66 Filed 02/05/19 Page 20 of 29




"Rights of Survivorship." Case,14,297 P.3d at 763. The right of survivorship is a feature of

both joint tenancies and tenancies by the entireties but not of a tenancy in common. See

Oatts, 821 P.2d at 114. This detail precluded the existence a tenancy in common in Case.

Therefore, there was no need for the Wyoming Supreme Court to defer to the modem rule

that "we must assume that a tenancy in common was intended" in the absence of language

indicating otherwise. See Thomas, f 11, 199 P.3d at 1095. Accordingly, Case does not

appear to have resurrected the Witzel presumption at the expense ofthe modem mle favoring

tenancies in common. Rather, Case clarified that the Witzel presumption only arises where

courts are faced with either a joint tenancy or a tenancy by the entireties. As was the situation

in Case, such circumstances develop by reason of an instmment's inclusion of "right of

survivorship" language but lack of"joint tenancy" or "tenancies by the entireties" language.

       Here, by virtue of Wyo. Stat. Ann. § 34-2-122, Mr. and Mrs. Lain are vested with

title to the Subject Property. The Warranty Deed does not provide any indication that the

Subject Property is to be held in a joint tenancy or a tenancy by the entireties, the Lain's

marriage notwithstanding. Accordingly, the Court does not apply the Witzel presumption and

instead defers to the modem mle that the Lains hold the Subject Property as tenants in

common in a fee simple absolute. Wvo. Stat. Ann. § 34-1-140; Thomas, K 11, 199 P.3d at

1095; Lurie, 51 P.3d at 851 n.3. Because the Warranty Deed does not specify that Mr. Lain

should have a different interest from Mrs. Lain, each has a fifty percent undivided interest in




                                              20
        Case 2:17-cv-00113-ABJ Document 66 Filed 02/05/19 Page 21 of 29




the Subject Property. Bixler v. Oro Mgmt., L.L.C., 2004 WY 29, t 19, 86 P.3d 843, 850

(Wyo. 2004).^

                   b) Resulting Trust

       In the interest of a complete analysis, an argument could be made that Mr. Lain holds

a beneficial interest vis-a-vis Mrs. Lain's interest in the Subject Property by means of a

resulting trust. As early as 1889, the Supreme Court of the Territory of Wyoming stated that

"when property is purchased in the name of one party, and the purchase price is actually paid

at the time by another, a trust results in favor ofthe latter." Culver v. Graham,21 P. 694,695

(Wyo. 1889). A caveat to this rule is where one spouse pays the purchase price and title is

vested in the other spouse's name. Nussbacher v. Manderfeld, 186 P.2d 548, 554 (Wyo.

1947)("Where a transfer of property is made to one person and the purchase price is paid by

another and the transferee is a wife ... of the person by whom the purchase price is paid, a

resulting trust does not arise unless the latter manifests an intention that the transferee should

not have the beneficial interest in the property.")(internal quotation marks omitted)(citing

Restatement(First)of Trusts § 441 (1935)).

       Therefore, despite paying for all the Subject Property, Mr. Lain did not obtain a

beneficial interest through a resulting trust in Mrs. Lain's interest. Mrs. and Mr. Lain each

have a fifty percent undivided interest in the Subject Property. Now that Mr. Lain's



^ The presumption that co-tenants take "equal undivided interests" when the conveying
instrument is silent as to the co-tenants' respective shares "may be rebutted by proof that the
co-tenants contributed unequal amounts ... and there is neither a family relationship among
the co-tenants nor any evidence of donative intent...." Bixler, K 19, 86 P.3d at 850. There is
a family relationship in the case at hand; thus, the presumption is not rebutted.
                                               21
        Case 2:17-cv-00113-ABJ Document 66 Filed 02/05/19 Page 22 of 29




ownership interest has been established, the Court must determine the federal tax

consequences.


              2) September Liberty Trust as a Nominee

       Individuals who refuse to pay their taxes cannot escape the ultimate consequences of

their decisions by placing title to their property in another's name "while actually retaining

some or all ofthe benefits oftrue ownership." See Holman,505 F.3d at 1065. In other words,

title retained in the name of a nominee^ for a delinquent taxpayer still constitutes "property"

or a "right to property" of the delinquent taxpayer susceptible to an IRS tax lien. Id. (quoting

Spotts, 429 F.3d at 251). Six factors govern this Court's analysis of whether September

Liberty Trust is a nominee:

      (1) whether inadequate or no consideration was paid by the nominee; (2)
      whether the property was placed in the nominee's name in anticipation of a
      lawsuit or other liability while the transferor remains in control of the
      property;(3) whether there is a close relationship between the nominee and the
      transferor; (4) whether they failed to record the conveyance;(5) whether the
      transferor retained possession; and (6) whether the transferor continues to
      enjoy the benefits ofthe transferred property.

Id. at 1065 n.l (10th Cir. 2007)(quoting Spotts, 429 F.3d at 253 n.2.). Although Mr. Lain

might not be a "transferor" in the technical sense that the Whites were the ones actually

transferring the property, the Court concludes that these factors are still relevant because the



^"A nominee is one who holds bare legal title to property for the benefit of another." Scoville
V. United States, 250 F.3d 1198, 1202(8th Cir. 2001)(citing Black's Law Dictionary (7th ed.
1999). The determination of nominee status empowers a court to find that a nominee holds
no interest in the property at issue. See, e.g.. United States v. Miller Bros. Const. Co., 505
F.2d    1031, 1032 (10th Cir. 1974); United States v. Elsberg, No.
CIV.A08CV00552MSKKLM, 2009 WL 1609399, at *6 (D. Colo. Mar. 18, 2009) (not
reported).
                                              22
        Case 2:17-cv-00113-ABJ Document 66 Filed 02/05/19 Page 23 of 29




Tenth Circuit "has recognized that a tax lien may be enforced when the taxpayer has never

held legal title to the property but has directed that title be placed in a third party's name."Id.

{c\\\n% Miller Bros. Const. Co.., 505 F.2d at 1036).

       First, although September Liberty Trust paid the down payment for the Subject

Property, all the money that came into September Liberty Trust did so as payment for Robert

Lain's services. Therefore, it was Robert Lain who provided consideration for the Subject

Property. Second, the Whites transferred the property to September Liberty Trust many years

after Mr. Lain stopped paying income taxes, thereby accumulating tax liability. Third, there

is a close relationship between Mr. Lain and September Liberty Trust: among other things,

he was the initial trustee, he deposited his income into its bank accounts, September Liberty

Trust's Taxpayer Identification Number at Wells Fargo was the same as Mr. Lain's, and the

Lains have used September Liberty Trust's bank accounts to make personal checks to

themselves. Fourth, the conveyance was recorded. Fifth, Mr. Lain currently resides on the

Subject Property and has done so for years. Sixth, Mr. Lain continued to enjoy the benefits of

the Subject Property because he has lived there and he has built structures upon it.

       Accordingly, the Court concludes that five out ofthe six factors are satisfied, and that

September Liberty Trust is Mr. Lain's nominee with respect to his interest in the tenancy in

common of the Subject Property. His decision to place his interest in September Liberty

Trust's name does not prevent him from having an interest in the Subject Property, and,

because he has an interest in the Subject Property, the United States has a lien upon it. The

next issue is whether the United States can foreclose its lien in light of Mrs. Lain's interest.


                                               23
        Case 2:17-cv-00113-ABJ Document 66 Filed 02/05/19 Page 24 of 29




               3) The Right to Foreclose

       The plain language of 26 U.S.C. § 7403 broadly permits "the United States to . . .

subject any property, of whatever nature, ofthe delinquent, or in which he has any right, title,

or interest, to the payment of such tax or liability." This language entitles the United States to

foreclose liens held upon property in which people besides the delinquent taxpayer also hold

a property interest E,g., United States v. Rodgers,461 U.S. 677, 691 (1983); United States v.

Gibbons, 71 F.3d 1496, 1501 (10th Cir. 1995); United States v. Overman, 424 F.2d 1142,

1146 (9th Cir. 1970)("Once the lien has been established, the statute empowers the district

court to subject the whole of the property in which the delinquent taxpayer has an interest to

a forced sale. The power is not limited to the sale of only the delinquent taxpayer's

interest."). The United States is therefore entitled to sell the Subject Property at a foreclosure

sale. That said, the United State must reimburse Mrs. Lain with fifty percent of the sale

proceeds for her interest in the Subject Property. Gibbons, 71F.3datl501.

   C) Default Judgment

       After filing its complaint on June 29, 2017,the United States served a summons and a

copy ofthe complaint on Mrs. Lain and September Liberty Trust on July 8, 2017. ECFs No.

1, 4, 6. Neither Defendant appeared or filed a responsive pleading in this matter, the

eighteen-months' timeframe notwithstanding. The Clerk of Court entered a default against

them on April 17, 2018. ECF No. 24. The United States now seeks a default judgment

declaring that Mrs. Lain and September Liberty Trust have no interest in the Subject

Property so that it can sell the Subject Property with marketable title.


                                               24
        Case 2:17-cv-00113-ABJ Document 66 Filed 02/05/19 Page 25 of 29




       Fed. R. Civ. P. 55(b)(2) permits a district court to enter a default judgment against a

defendant. Initially, though, the court must determine whether it has jurisdiction and whether,

if taken as true, the complaint's well-pled allegations state a claim for relief. Nevada Gen.

Ins. Co. V. Anaya, 326 F.R.D. 685, 693(D.N.M. 2018)(citing Venable v. Haislip, 721 F.2d

297, 300(10th Cir. 1983); lOA WRIGHT & MILLER,FED.Prac.& Proc. Civ. § 2688.1 at 63

(4th ed.))(other citations omitted).

       1) Jurisdiction

       The Court has already determined that it has subject matter jurisdiction. Still, though,

the Court must decide whether it has personal jurisdiction over Mrs. Lain and September

Liberty Trust.

       Fed. R. Civ.P. 4(k)(l)(A) states that personal jurisdiction may be established through

service of process upon a defendant "who is subject to the jurisdiction of a court of general

jurisdiction in the state where the district court is located." In Wyoming, state "courts are

authorized by statute to exercise personal jurisdiction over defendants on any basis which is

not inconsistent with the Wyoming or United States constitutions." O'Bryan v. McDonald,

952 P.2d 636, 638 (Wyo. 1998)(citing Wyo. Stat. Ann. § 5-1-107(a)). Compliance with

due process requires that the defendant have "certain minimum contacts with [the forum]

such that the maintenance of the suit does not offend traditional notions of fair play and

substantial justice." Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 414

(1984) (internal quotation marks omitted) (quoting International Shoe Co. v. Washington,

326 U.S. 310, 316 (1945)); see also Klein Frank, P.C. v. Girards, 932 F. Supp. 2d 1203,


                                             25
        Case 2:17-cv-00113-ABJ Document 66 Filed 02/05/19 Page 26 of 29




1210 (D. Colo. 2013)(explaining that minimum contacts can be displayed by proving that

the defendant is subject to the court's general jurisdiction because of the defendant's "travel

to the forum state," work performed in the forum state, or property ownership in the forum

state)(citations omitted).

       Here, the United States properly served Mrs. Lain and September Liberty Trust with a

summons and a copy of the complaint in Wyoming, EOF Nos. 4, 6. Mrs. Lain resides in

Wyoming and both of September Liberty Trust's trustees (and arguably beneficiaries) are

residents of Wyoming. Cf. Conagra Foods, Inc. v. Americold Logistics, LLC,116 F.3d 1175,

1178 (10th Cir. 2015), as amended (Jan. 27, 2015), affd sub nom. Americold Realty Tr. v.

Conagra Foods, Inc., 136 S. Ct. 1012,(2016)(outlining the citizenship distinction for suits

brought by a trustee on behalf of a trust and when a trust "itself is a party to the litigation" at

hand). The Court thus finds that both Mrs. Lain and September Liberty Trust have extensive

contacts with Wyoming, and that service of process established that this Court has personal

jurisdiction over them. Finally, it should be remembered that this controversy partially

concerns Mrs. Lain's and September Liberty Trust's challenged interests in the Subject

Property, which is located in Wyoming. Compl. H 9, ECF No. 1. As a result, this Court

concludes that there are no issues with personal jurisdiction in this matter.

       2) Validitv ofthe United States' Claim for Relief

       The United States asks this Court to fmd that Mrs. Lain and September Liberty Trust

"have no interest in the subject property." But the Court has already determined that Mrs.




                                               26
        Case 2:17-cv-00113-ABJ Document 66 Filed 02/05/19 Page 27 of 29




Lain does have an interest in the Subject Property. Therefore, consistent with this Court's

earlier discussion, the Court cannot provide such relief.

       Because the United States has not addressed Mrs. Lain's interest, it follows that the

United States has not argued that September Liberty Trust is also her nominee. Nor has the

United States argued that Mrs. Lain is Mr. Lain's nominee. "Arguments not raised are

waived." Garza v. Correct Care Sols., 451 F. App'x 775, 776 (10th Cir. 2011)(unpublished)

(citing United States v. Martinez, 518 F.3d 763, 767 n.2 (10th Cir. 2008)). The Court thus

cannot rule that Mrs. Lain holds no interest in the Subject Property. That said, this Court will

enter an order that September Liberty Trust has no interest in the Subject Property with

respect to Mr. Lain's interest because it is merely his nominee.




                                              27
        Case 2:17-cv-00113-ABJ Document 66 Filed 02/05/19 Page 28 of 29




                                        rv.    Conclusion


       The IRS, the Tax Court, and now this Court all conclude that Mr. Lain owes the

United States a substantial sum of money for his failure to pay income taxes. Arguments that

this Court lacks subject matter jurisdiction, Mr. Lain is a nontaxpayer, and the IRS

constructed a fraudulent casefile are all legally and factually frivolous. Accordingly, the

Court finds that the United States' assessment should be reduced to ajudgment, and that such

judgment attaches to all of Mr. Lain's property and interests in property.

       Mr. Lain is a tenant in common in a fee simple absolute with Mrs. Lain in the Subject

Property. Consequently, the United States has a lien upon the Subject Property that it can

foreclose. Fifty percent of the proceeds from the foreclosure sale, though, must be handed

over to Mrs. Lain to compensate her for her interest. It is therefore

       ORDERED that Lain's Mo. for Summ. J, ECF No. 41, should be and is hereby

DENIED;

       IT IS FURTHER ORDERED that the United States'Mo.for Summ. J., ECF No. 51,

should be and is hereby GRANTED to the extent that it seeks a determination that 1) Mr.

Lain is indebted to the United States in the total amount of $1,775,060,06, as of December

13, 2018, 2)that the United States has valid tax liens attaching to all of Mr. Lain's property

and rights in property, both real and personal, tangible and intangible, 3) that September

Liberty Trust is Mr. Lain's nominee with respect to the Subject Property, and 4) that the

United States' tax liens encumbering the Subject Property be foreclosed and sold according

to the terms ofthis Court's Order ofForeclosure and Decree ofSale;


                                               28
        Case 2:17-cv-00113-ABJ Document 66 Filed 02/05/19 Page 29 of 29




       IT IS FURTHER ORDERED that the United States Mo.for Default J., ECF No. 52,

should be and is hereby GRANTED to the extent that it seeks a determination that

September Liberty Trust is Mr. Lain's nominee and has no interest in the Subject Property.

To the extent is seeks further relief, it should be and is hereby DENIED;

       n IS FURTHER ORDERED that all other pending motions in this matter should be

and are hereby DISMISSED AS MOOT;

       IT IS FURTHER ORDERED that all future conferences and the jury trial scheduled

for May 13, 2019, should be and are hereby VACATED.




              Dated this ^ ^ day of February, 2019.


                                          AlanB. Johnson
                                          United States District Judge




                                             29
